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Case:17-03283-LTS Doc#:17192-15 Filed:06/29/21 Entered:06/29/21 18:11:22   Desc:
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Case:17-03283-LTS Doc#:17192-15 Filed:06/29/21 Entered:06/29/21 18:11:22   Desc:
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Case:17-03283-LTS Doc#:17192-15 Filed:06/29/21 Entered:06/29/21 18:11:22   Desc:
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Case:17-03283-LTS Doc#:17192-15 Filed:06/29/21 Entered:06/29/21 18:11:22   Desc:
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Case:17-03283-LTS Doc#:17192-15 Filed:06/29/21 Entered:06/29/21 18:11:22   Desc:
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Case:17-03283-LTS Doc#:17192-15 Filed:06/29/21 Entered:06/29/21 18:11:22   Desc:
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Case:17-03283-LTS Doc#:17192-15 Filed:06/29/21 Entered:06/29/21 18:11:22   Desc:
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